Case 2:04-cv-02628-SHI\/|-dkv Document 64 Filed 08/19/05 Page 1 of 2 Page|D 50

Fu£c) B`Y s .M_. D-G.
IN THE UNITED STATES DISTRICT COURT x _
FOR THE WESTERN DISTRICT OF TENNESSEE ` ‘ 4
WESTERN DIVISION eshuglg AH 6 5'

 

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CLEHK, U.S\ E?STRLC`J COURT

RORY ALLEN GREGORY, WDG;U¢A

 

Plaintiff,
VS. NO. 04-2628-Mav
GARY AARON, ET AL.,

Defendants.

 

ORDER ALLOWING EXCESS PAGE LIMIT

 

Before the court is the August ll, 2005, motion by plaintiff
for permission to file a response to defendants' motion to
dismiss or for summary judgment, Which is in excess of the Rule
7.2(e) page limitation. Plaintiff’s motion is moot, as the
response has been filed and Was docketed on August 3, 2005.
Plaintiff's motion is therefore denied as moot.

So ORDERED this /?*LUay of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

